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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

  UNITED STATES OF AMERICA,
                                                   CR 21-12-M-DLC
                       Plaintiff,

  vs.                                               ORDER


  TIMOTHY LEO VLEISIDES,

                       Defendant.


        The Court having approved the pretrial release plan for Defendant Timothy

Leo Vleisides,

         IT IS ORDERED that the U.S Marshals shall promptly transport

Defendant to the Russell Smith Courthouse in Missoula for processing by pretrial

services.

              DATED this 7th day of March, 2022.


                                          ________________________________
                                          Kathleen L. DeSoto
                                          United States Magistrate Judge




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